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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 14-cv-00317-PAB-MJW

   BOXER F2, L.P., a Texas limited partnership,

   Plaintiff,

   v.

   FLAMINGO WEST, LTD., d/b/a LEGALWIZ PUBLICATIONS,
   BRONCHICK & ASSOCIATES,
   WILLIAM BRONCHICK, and
   BRONCHICK & ASSOCIATES, P.C.,

   Defendants.


                                           ORDER
                                             on

                                PLAINTIFF’S
        MOTION TO STRIKE DEFENDANTS’ ANSWER TO THE SECOND AMENDED
        COMPLAINT AND FOR SANCTIONS PURSUANT TO FED.R.CIV.P. 37(b)(2)
                               (Docket No. 67)

   MICHAEL J. WATANABE
   United States Magistrate Judge

           On October 1, 2014, Plaintiff moved for leave to file a second amended

   complaint, with a certificate of conferral stating that Defendants opposed the motion.

   (Docket No. 62.) Defendants never filed any response, however, and the Court

   therefore granted the motion. (Docket No. 64.) The Second Amended Complaint was

   filed on October 28, 2014. (Docket No. 65.) Defendants’ responses were due by

   November 14, 2014, see Fed.R.Civ.P. 15(a)(3) & 6(d), but were not filed until November

   25, 2014. (Docket No. 66.)
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          Also, in July 2014, Plaintiff filed a motion to compel discovery responses.

   (Docket No. 40.) Following briefing (Docket Nos. 40, 43, 48, 55 & 58) and a hearing

   (Docket Nos. 59, 82), the Court granted Plaintiff’s motion and ordered Defendants to

   produce the discovery at issue on or before September 19, 2014 (Docket No. 59).

          Plaintiff now moves the Court to strike Defendants’ operative Answer (Docket No.

   66) on two grounds: first, because the answer was untimely; and second, because

   Defendants have not complied with the Court’s order compelling discovery.

          The Court has reviewed the parties’ filings (Docket Nos. 67, 79, 80 & 81), taken

   judicial notice of the court’s file in this case, and reviewed the relevant Federal Rules of

   Civil Procedure, statutes, and case law. Now being fully informed, the Court makes the

   following findings of fact, conclusions of law, and order.

                                        BACKGROUND

          This is a breach of contract case based on a lease agreement. At the time of

   Plaintiff’s motion to compel discovery, the operative complaint was the First Amended

   Complaint (Docket No. 14). The First Amended Complaint alleged that:

             The individual Defendant, William Bronchick, executed a lease agreement on
              behalf of two entities he controls, Defendants Flamingo West and Bronchick &
              Associates (id. ¶ 28);

             Beginning in April 2012, Defendants fell behind on the lease (id. ¶ 37); and

             Defendants abandoned the premises without curing their breach of the lease
              agreement (id. ¶¶ 38–43).

   The First Amended Complaint asserted only breach-of-lease claims. (Id. ¶¶ 49–72.)

   Early in this case, Defendants William Bronchick, Bronchick & Associates, and
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   Bronchick & Associates P.C. (the “Bronchick Defendants”)1 moved for summary

   judgment, arguing that only Defendant Flamingo West Ltd. was a party to the lease and

   that no other basis for liability could be proven.2 (Docket No. 39.) This motion was later

   withdrawn. (Docket Nos. 73 & 74.)

          Against this background, Plaintiff filed its initial motion to compel discovery.

   (Docket No. 40.) Plaintiff’s written discovery, dated May 30, 2014, included:

             15 interrogatories and 16 production requests to Defendant Flamingo West
              Ltd.;

             15 interrogatories and 16 production requests to Defendant Bronchick &
              Associates;

             14 interrogatories and 16 production requests to Defendant Bronchick &
              Associates P.C.; and

             10 interrogatories and 10 production requests to individual Defendant
              Bronchick.

   (Docket Nos. 40-1 & 40-2.) Defendants provided responses on July 2, 2014. (Docket

   Nos. 40-7 & 40-8.) In response to the discovery served on Defendant Bronchick &

   Associates, Defendants asserted that the entity did not exist and therefore could not

   respond. (Id.) As to the 81 discovery requests served on the other three defendants




          1
           At present, “Bronchick & Associates” is a separate named Defendant in this
   case, on Plaintiff’s theory that it is an unincorporated entity. (See Docket No. 82, at 15.)
   Defendants maintain that it never existed. According to Defendants, Defendant
   Flamingo West Ltd. used that name as a trade name for a brief time, and shortly
   thereafter, individual Defendant Bronchick’s law firm changed its name to Bronchick &
   Associates P.C. (See id. at 10–13.)
          2
            Defendants included in briefing this motion at least two exhibits of documents
   not previously disclosed to Plaintiff. Although the Court denied Plaintiff’s motion to
   strike those exhibits (Docket No. 52), Defendants’ conduct in this regard remains
   relevant and indicates a pattern of bad faith.
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   (Bronchick individually, Bronchick & Associates P.C., and Flamingo West Ltd.), Plaintiff

   found 22 of Defendants’ responses unsatisfactory. (Docket No. 40, ¶ 1.)

          The Court held a hearing on Plaintiff’s motion to compel. (Docket Nos. 54, 59, &

   82.) At that hearing, Defendants argued that the discovery at issue could be broken

   down into two categories: (1) all records from Defendants Bronchick & Associates and

   Bronchick & Associates P.C.; and (2) financial records from Flamingo West Ltd.

   (Docket No. 82, at 6.) As to both categories, Defendants argued that the requested

   financial records were irrelevant because no claim of fraudulent transfer or of piercing

   the corporate veil were at issue in the case. (Id. at 7–9.) As to the Bronchick &

   Associates requests, Defendants argued also that Bronchick & Associates never

   existed and therefore had no records to produce. (Id. at 7–8, 14.) Finding that the

   confusion as to business entities warranted further discovery, and that the financial

   information was relevant to the subject matter of the case, the Court granted Plaintiff’s

   motion in full. (Id. at 16–19.)

          Shortly thereafter, Plaintiff filed the Second Amended Complaint. (Docket No.

   65.) The Second Amended Complaint repeats the same basic factual narrative as the

   First Amended Complaint. (See id. ¶¶28–48.) But under the breach-of-contract claims

   for relief, it adds factual and legal allegations for an “alter ego” theory to pierce

   Defendant Flamingo West Ltd’s corporate veil. (Id. ¶¶ 54–56.) It also adds an unjust

   enrichment/quantum meruit claim against Defendant Bronchick & Associates P.C. (id.

   ¶¶ 66–74), and a Uniform Fraudulent Transfer Act claim against individual Defendant

   Bronchick for receiving actually and constructively fraudulent transfers from Flamingo

   West Ltd. (id. ¶¶ 75–86).
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                         DEFENDANTS’ DISCOVERY RESPONSES

         Plaintiff now moves for sanctions, arguing that Defendants have not produced

   discovery responses in compliance with the Court’s order compelling discovery.

   Specifically, the following 14 discovery requests remain at issue.

   Interrogatory 5 to individual Defendant Bronchick

         This request asks:

         Interrogatory No. 5: Identify all assets and/or Property assigned,
         conveyed, sold, and/or otherwise transferred to William Bronchick from
         April 2003 to present.

   (Doc. 40-1, p. 17.) Defendants’ July response to this interrogatory was:

         Objection in that financial information of WILLIAM BRONCHICK is not a
         relevant issue in the case and thus any request for production of
         documents pertaining thereto are improper in that it will not lead to any
         discoverable information that is relevant to the Plaintiff’s case.

   (Docket No. 40-7, p. 20.) Plaintiff has since narrowed the request to assets transferred

   or conveyed to individual Defendant Bronchick from business entities controlled by him.

   (See Docket No. 55-5, p. 1; Docket No. 40-7, p. 19.) Following the Court’s order

   compelling discovery, Defendants’ response to this interrogatory was:

         ANSWER: None.

   (Docket No. 67-1, p. 1.)

   Production Requests 2 & 3 individual Defendant Bronchick

         These requests ask:

         Request for Production No. 2: Any and all Documents and Electronic
         Records, excluding tax returns, evidencing Your employment from April
         2003 to the present.

         Request for Production No. 3: Any and all Documents and Electronic
         Records Pertaining to any assets and/or property acquired by William
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         Bronchick and all assets and/or property assigned, conveyed, sold and/or
         otherwise transferred to William Bronchick from April 2003 to present.

   (Doc. 40-2, p. 16.) Defendants’ July responses to these production requests were:

         [No. 2:] Objection, not specific enough. What specific documents is
         Plaintiff requesting?

         [No. 3:] Objection in that financial information of William Bronchick is not a
         relevant issue in the case and thus any request for production of
         documents pertaining thereto are improper in that it will not lead to any
         discoverable information that is relevant to the Plaintiff’s case.

   (Docket No. 40-8, p. 4.) Plaintiff has since narrowed the request to assets transferred

   or conveyed to individual Defendant Bronchick from business entities controlled by him.

   (See Docket No. 55-5, p. 1; Docket No. 40-7, p. 19.) Following the Court’s order

   compelling discovery, Defendants’ responses to these production requests were:

         [No. 2:] ANSWER: None.

         [No. 3:] ANSWER: None.

   (Docket No. 67-1, p. 13.) A few days later, Defendants provided a supplemental

   response with accounting records showing, apparently, payments to individual

   Defendant Bronchick totaling $23,500 from Defendant Flamingo West Ltd. (from 2009

   through 2013) and $48,447.72 from Defendant Bronchick & Associates P.C. (from 2013

   to 2014). (Docket No. 62-13.)

   Interrogatories 7 & 8 to Defendant Bronchick & Associates P.C.

         These requests ask:

         Interrogatory No. 7: Identify all accounts maintained with a bank, credit
         union, or other financial depository by Bronchick & Associates, P.C. from
         April 2003 to present.

         Interrogatory No. 8: Identify all assets and/or Property acquired by
         Bronchick & Associates, P.C. and all assets and/or Property assigned,
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          conveyed, sold, and/or otherwise transferred to Bronchick & Associates,
          P.C. from April 2003 to present.

   (Doc. 40-1, p. 26.) Defendants’ July responses to these interrogatories were:

          [No. 7:] Objection, financial information of BRONCHICK are not a relevant
          issue in the case and thus any request for information pertaining there are
          improper in that it will not lead to any discoverable information that is
          relevant to the Plaintiff’s case.

          [No. 8:] Objection, unduly burdensome and that assets of BRONCHICK
          are not a relevant issue in the case and thus any request for information
          pertaining there are improper in that it will not lead to any discoverable
          information that is relevant to the Plaintiff’s case.

   (Doc. 40-7, p. 7.) Plaintiff has since narrowed interrogatory 8 to assets transferred or

   conveyed to Defendant Bronchick & Associates P.C. from business entities controlled

   by individual Defendant Bronchick. (See Docket No. 55-5, p. 1; Docket No. 40-7, p. 19.)

   Following the Court’s order compelling discovery, Defendants provided no response

   whatsoever to these interrogatories. (See Docket No. 67-1, p. 5.)

   Production Requests 2, 4 & 6 to Defendant Bronchick & Associates P.C.

          These requests ask:

          Request for Production No. 2: Any and all Documents and Electronic
          Records Pertaining to the management of Bronchick & Associates, P.C.,
          including without limitation, certificates of formation, articles of
          incorporation, amendments, bylaws, shareholder agreements,
          membership agreements, partnership agreements, stock certificates,
          periodic reports, IRS tax filings, state tax filings, and filings with the
          Secretary of State of Colorado.

          Request for Production No. 4: Any and all Documents and Electronic
          Records Pertaining to any accounts maintained by Bronchick &
          Associates, P.C. with a bank, credit union, or other financial depository
          from April 2003 to present, and any and all Documents and Electronic
          Records Pertaining to any such accounts wherein any income generated
          by Bronchick & Associates, P.C. was or is held from April 2003 to present.
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         Request for Production No. 6: Any and all Documents and Electronic
         Records Pertaining to any assets and/or property belonging to Bronchick
         & Associates, P.C. that were assigned, conveyed, sold and/or otherwise
         transferred from or by Bronchick & Associates, P.C. from April 2003 to
         present.

   (Doc. 40-2, p. 26–27.) Defendants’ July responses to these production requests were:

         [No. 2:] BRONCHICK, PC will provide articles of incorporation and by
         laws. Stock certificates of shareholders are not in the possession or
         control of BRONCHICK, OC. [sic]

         Objection as to IRS and State tax filings in that financial information of
         BRONCHICK is not a relevant issue in the case and thus any request for
         production of documents pertaining thereto are improper in that it will not
         lead to any discoverable information that is relevant to the Plaintiff’s case.

         Objection as to filings with the Secretary of State of Colorado, in that these
         records are publicly available through their website.

         [No. 4:] Objection in that financial information of BRONCHICK, PC is not a
         relevant issue in this case and thus any request for production of
         documents pertaining thereto are improper in that it will not lead to any
         discoverable information that is relevant to the Plaintiff’s case.

         [No. 6:] Objection, unduly burdensome and that assets of BRONCHICK,
         PC are not a relevant issue in the case and thus any request for
         production of documents pertaining thereto are improper in that it will not
         lead to any discoverable information that is relevant to the Plaintiff’s case.

   (Docket No. 40-8, p. 11–12.) Plaintiff has since narrowed production request 4 to

   profit/loss statements, balance sheets, and the like. (See Docket No. 55-5, p. 2.)

   Plaintiff has also narrowed production request 6 to assets transferred or conveyed from

   Defendant Bronchick & Associates P.C. to business entities controlled by individual

   Defendant Bronchick. (See Docket No. 55-5, p. 1; Docket No. 40-7, p. 19.) Following

   the Court’s order compelling discovery, Defendants’ responses to these production

   requests were:

         [No. 2:] ANSWER: Enclosed are employer documents from 2011-2013.
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         [No. 4:] ANSWER: None.

         [No. 6:] ANSWER: None.

   (Docket No. 67-1, p. 15–16.)

   Interrogatories 9 & 10 to individual Defendant Flamingo West Ltd.

         These requests ask:

         Interrogatory No. 9: Identify all assets and/or property belonging to
         Flamingo West that were assigned, conveyed, sold and/or otherwise
         transferred from or by Flamingo West from April 2003 to present.

         Interrogatory No. 10: Identify any and all outstanding financial obligations
         or debts owed by Flamingo West from April 2003 to present, including any
         collateral or Property used to secure such obligation or debt, and state
         whether each debt or obligation has been paid or satisfied.

   (Doc. 40-1, p. 36–37.) Defendants’ July response to these interrogatories were:

         [No. 9:] Objection in that assets of FLAMINGO are not a relevant issue in
         the case and thus any request for production of documents pertaining
         there are improper in that it will not lead to any discoverable information
         that is relevant to the Plaintiff’s case. FLAMINGO further objects in that
         listing all assets or property acquired or conveyed over 11 years is unduly
         burdensome.

         [No. 10:] Objection in that financial obligations of FLAMINGO are not a
         relevant issue in the case and thus any request for production of
         documents pertaining there are improper in that it will not lead to any
         discoverable information that is relevant to the Plaintiff’s case.

   (Docket No. 40-7, p. 29–30.) Plaintiff has since narrowed the request to assets

   transferred or conveyed from Flamingo West to business entities controlled by individual

   Defendant Bronchick. (See Docket No. 55-5, p. 1; Docket No. 40-7, p. 19.) Following

   the Court’s order compelling discovery, Defendants’ response to this interrogatory was:

         [No. 9:] ANSWER: None.

         [No. 10:] ANSWER: Chase Line of Credit          $ 34,300.00
                           W & C Bronchick               $160,902.00
                           First Bank LOC                $ 24,900.00
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  (Docket No. 67-1, p. 3–4.)

  Production Requests 2, 4 6 & 7 to Defendant Flamingo West Ltd.

        These requests ask:

        Request for Production No. 2: Any and all Documents and Electronic
        Records Pertaining to the management of Flamingo West, including
        without limitation, certificates of formation, articles of incorporation,
        amendments, bylaws, shareholder agreements, membership agreements,
        partnership agreements, stock certificates, periodic reports, IRS tax filings,
        state tax filings, and filings with the secretary of state of Colorado.

        Request for Production No. 4: Any and all Documents and Electronic
        Records Pertaining to any accounts maintained by Flamingo West with a
        bank, credit union, or other financial depository from April 2003 to present,
        and any and all Documents and Electronic Records Pertaining to any such
        accounts wherein any income generated by Flamingo West was or is held
        from April 2003 to present.

        Request for Production No. 6: Any and all Documents and Electronic
        Records Pertaining to any assets and/or property belonging to Flamingo
        West that were assigned, conveyed, sold and/or otherwise transferred
        from or by Flamingo West from April 2003 to present.

        Request for Production No. 7: Any and all Documents and Electronic
        Records evidencing any debt or financial obligation owed by Flamingo
        West from April 2003 to present and all Documents and Electronic
        Records evidencing payment or satisfaction of such financial obligations.

  (Doc. 40-2, p. 36–37.) Defendants’ July responses to these production requests were:

        [No. 2:] FLAMINGO will provide articles of incorporation and by laws.
        Stock certificates of shareholders are not in the possession or control of
        FLAMINGO.

        Objection as to IRS and State tax filings in that financial information of
        FLAMINGO is not a relevant issue in the case and thus any request for
        production of documents pertaining thereto are improper in that it will not
        lead to any discoverable information that is relevant to the Plaintiff’s case.

        Objection as to filings with the Secretary of State of Colorado, in that these
        records are publicly available through their website.

        [No. 4:] Objection in that financial information of FLAMINGO is not a
        relevant issue in the case and thus any request for production of
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         documents pertaining thereto are improper in that it will not lead to any
         discoverable information that is relevant to the Plaintiff’s case.

         [No. 6:] Objection in that assets of FLAMINGO are not a relevant issue in
         the case and thus any request for production of documents pertaining
         thereto are improper in that it will not lead to any discoverable information
         that is relevant to the Plaintiff’s case.

         [No. 7:] Objection in that financial obligations of FLAMINGO are not a
         relevant issue in the case and thus any request for production of
         documents pertaining thereto are improper in that it will not lead to any
         discoverable information that is relevant to the Plaintiff’s case.

  (Docket No. 40-8, p. 23–25.) Plaintiff has since narrowed production request 4 to

  profit/loss statements, balance sheets, and the like. (See Docket No. 55-5, p. 4.)

  Plaintiff has also narrowed production request 6 to assets transferred or conveyed from

  Defendant Flamingo West Ltd. to business entities controlled by individual Defendant

  Bronchick. (See Docket No. 55-5, p. 1; Docket No. 40-7, p. 19.) Following the Court’s

  order compelling discovery, Defendants provided no response whatsoever to product

  request 2. (See Docket No. 67-1, p. 11.) Defendants’ responses to the other three

  production requests were:

         [No. 4:] ANSWER: None.

         [No. 6:] ANSWER: None.

         [No. 7:] ANSWER: Defendant Flamingo West, Ltd is unable to obtain loan
         documents at this time, but has requested the same and will forward to
         Plaintiff upon receipt.

  (Docket No. 67-1, p. 11–12.)

                                         SANCTIONS

         The Court finds that Defendants—all Defendants—have conducted themselves

  in bad faith and have intentionally failed to honor their discovery obligations under the

  Federal Rules of Civil Procedure. As a result, the Court will impose sanctions.
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         Plaintiff’s proposed sanction is to strike Defendants’ operative pleading,both as a

  discovery sanction and also as a sanction for Defendants’ sustained failure to meet

  deadlines in this litigation. Although Plaintiff’s request is well-founded, the Court finds

  that striking Defendants’ Answer and thus effectively entering default judgment is an

  excessive penalty. See Ehrenhaus v. Reynolds, 965 F.2d 916, 920–22 (10th Cir. 1992)

  (listing and applying factors to be used in discovery sanctions). Although Defendants

  have offered no reason or excuse for their tardiness, the delay has not been

  interminable and has not prejudiced Plaintiff’s case to a degree that would warrant such

  an extreme sanction.

         Defendants’ flagrant disregard of the Court’s order compelling discovery is

  another matter. In briefing on the subject motion for sanctions, Defendants offer only

  frivolous arguments in defense of their failure to provide discovery. Defendants offered

  no explanation at all for their total failure to respond to three of the discovery requests;

  further, Defendants offered no specific explanation for most of their responses, instead

  arguing two or three generally applicable points. Unfortunately, those generally

  applicable points are patently invalid. For example, Defendants all argue that records

  reflecting employment compensation paid to individual Defendant Bronchick were not

  responsive because such compensation was “paid,” rather than “transferred” or

  “conveyed.” (Docket No. 79, p. 4; Docket No. 80, p. 5.) Defendants’ argument is not

  only a cheap semantic game, but is also flatly contrary to the definition of “transfer”

  under the Colorado Uniform Fraudulent Transfer Act. See C.R.S. § 38-8-102(13). As

  another example, the Bronchick Defendants argue:
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         Each of the discovery requests about which Plaintiff complains is directed
         to its allegations of successor liability, fraudulent transfer and veil piercing.
         The Bronchick Defendants do not have any information responsive to
         these requests because the Defendants are not successors to one
         another, are no alter egos of one another, and have not fraudulently
         transferred any assets among one another. . . . Plaintiff’s refusal to accept
         the illegitimacy of its claims against the Bronchick Defendants does not
         mean there has been a discovery violation . . . .

  (Docket No. 80, p.7.) Defendants cannot avoid their discovery obligations by simply

  declaring Plaintiff’s claims meritless. Defendants have failed to produce a variety of

  documents that they cannot plausibly claim do not exist; the fact that Defendants

  disagree with Plaintiff’s legal theories does not justify this failure.

         In choosing an appropriate sanction,

         a court should ordinarily consider a number of factors, including: (1) the
         degree of actual prejudice to the [opposing party]; (2) the amount of
         interference with the judicial process; (3) the culpability of the litigant, (4)
         whether the court warned the party in advance . . .; and (5) the efficacy of
         lesser sanctions.

  Ehrenhaus, 965 F.2d at 921 (internal citations and quotation marks omitted).

  Defendants’ conduct has greatly prejudiced Plaintiff’s ability to meaningfully develop this

  case for trial, has caused amendments to the scheduling order, and has come without

  any valid justification. Applying these factors, the Court concludes that the appropriate

  sanction is for the Court will draw adverse inferences, taken as established facts under

  Fed.R.Civ.P. 37(b)(2)(A)(i). More specifically: because Defendants’ conduct is plainly

  directed toward frustrating any liability for the Bronchick Defendants if Plaintiff prevails

  on its breach-of-lease claim against Flamingo West Ltd., the Court will take as

  established fact each of the facts in Plaintiff’s complaint aimed at imposing successor,

  transferee, or alter ego liability on the Bronchick Defendants. That said, Defendants will
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  be given one last chance to honor their discovery obligations before the sanction is

  imposed.

                                            ORDER

        WHEREFORE, the Court hereby ORDERS that:

            Plaintiff’s Motion to Strike Defendants’ Answer to the Second Amended
             Complaint and for Sanctions Pursuant to Fed.R.Civ.P. 37(b)(2) is GRANTED
             IN PART and DENIED IN PART;

            Defendants SHALL PRODUCE, within 14 days of the date of this order:

                o A complete copy of each named Defendants’ accounting records, in
                  native electronic format as stored by Defendants’ accounting software
                  (which records shall be deemed to satisfy interrogatory 5 and
                  production requests 2 and 3 to individual Defendant Bronchick;
                  interrogatories 7 and 8 and production requests 4 and 6 to Defendant
                  Bronchick & Associates P.C.; and interrogatories 9 and 10 and
                  production requests 4 and 6 to Defendant Flamingo West Ltd.); and

                o Responses to production requests 2 and 7 to Defendant Flamingo
                  West Ltd., as propounded by Plaintiff.

            Should Defendants fail to comply with this Order, Plaintiff is GRANTED
             LEAVE to renew its motion for sanctions, requesting that the Court enter
             findings of fact under Fed.R.Civ.P. 37(b)(2)(A)(i) reflecting the well-pleaded
             factual allegations of paragraphs 55, 62, 74, 79, 80, 81, 82, and 83 of the
             Second Amended Complaint (Docket No. 65).

            It is further ORDERED that Defendants shall pay Plaintiff’s attorneys’
             reasonable and necessary fees as to Plaintiff’s motion for sanctions (Docket
             No. 67). The parties shall forthwith meet and confer to see if they can agree
             upon the attorneys’ fees. If the parties can agree, then they shall file their
             stipulation concerning attorneys’ fees with the Court on or before February
             20, 2015. If they parties cannot agree, then Plaintiff shall file its itemized
             affidavit for attorneys’ fees with the Court on or before February 20, 2015,
             with briefing to follow pursuant to D.C.Colo.LCivR 7.1(d).



  Dated: February 11, 2015                  /s/ Michael J. Watanabe
         Denver, Colorado                   Michael J. Watanabe
                                            United States Magistrate Judge
